 1   Russell Brown
     CHAPTER 13 TRUSTEE
 2   Suite 800
     3838 North Central Avenue
 3   Phoenix, Arizona 85012-1965
     602.277.8996
 4   Fax 602-253-8346
     mail@ch13bk.com
 5

 6                            UNITED STATES BANKRUPTCY COURT

 7                                      DISTRICT OF ARIZONA

 8
     In re                                              Chapter 13
 9
     JOHN MCLOUGHLIN,                                   Case No. 2-13-bk-14029 DPC
10                                                      TRUSTEE'S MOTION TO DISMISS
                                                        CASE FOR DELINQUENT PLAN
11
                                                        PAYMENTS AND FAILURE TO
12                                                      PROVIDE COPIES OF TAX

13                            Debtor.                    Deadline: April 11, 2017

14      Russell Brown, CHAPTER 13 TRUSTEE, pursuant to 11 U.S.C. § 1307(c), moves to

15 dismiss the case. The Debtor has defaulted in plan payments in the amount of $1,400.00. Also,

16 the Trustee has not received from the Debtor the Federal and State income tax returns

17 for 2014 and 2015 Business and Personal.

18      Pursuant to Local Rule 2084-15, the Court will grant the Trustee's motion unless by April
19 11, 2017, the Debtor:

20      (1) Brings the Plan payments current and provides copies of the tax returns to the Trustee;
21      (2) Files a Notice of Conversion to Chapter 7 and serves a copy on the Trustee; or
22      (3) Files a modified plan containing a motion for a moratorium of the delinquent plan
23 payments or a motion for a moratorium of the delinquent plan payments, and provides a copy of

24 the tax returns to the Trustee.

25
                                                                     Rachel Flinn
                                                                     Russell Brown, Chapter 13
26                                                                   Trustee; 3838 N. Central
                                                                     Ave., Ste. 800, Phoenix, AZ
                                                                     85012
27                                                                   2017.03.09 11:58:31 -07'00'




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                                             Page 1 of 2
 1
   A copy of this Motion to Dismiss was
 2 mailed or emailed on the below date to:

 3

 4        JOHN MCLOUGHLIN
          7235 EAST HAMPTON AVENUE, #110
 5        MESA, AZ 85209

 6

 7

 8
          BUNTROCK & GARDNER LAW
 9        2158 N. GILBERT
          SUITE 119
10        MESA, AZ 85203
11        shane@buntrocklaw.com

12

13
                      Digitally signed by
14                    Becky Kahlstorf
                      Date: 2017.03.09
15                    16:14:26 -07'00'
     B Kahlstorf
16

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                                                                                          In re Mcloughlin
                                                                           Case No. 2-13-bk-14029 DPC
                                                                        Trustee's Motion to Dismiss Case

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